                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            BRYSON CITY DIVISION
                                   2:13 cr 02


UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )
                                                    )              ORDER
1) EUDINE TRENAE WILSON and,                        )
2) MARIE LUZINSKI RAYMOND,                          )
                                                    )
                  Defendants.                       )
____________________________________                )


       THIS MATTER has come before the undersigned pursuant to a Motion to Consolidate

Hearings on Motions to Suppress (#52) filed by Defendants.       The undersigned had scheduled

hearings in regard to these motions with the hearing for Defendant Wilson set for 9:00 a.m. on

June 12, 2013 and for Defendant Raymond to begin at 1:30 p.m. on June 12, 2013. Counsel for

Defendants now move to join these hearings. It appears that the government consents to the

joinder and there does not appear to be any prejudice that could result to either Defendant should

the motion be granted.

                                            ORDER

       IT IS, THEREFORE, ORDERED that the Motion to Consolidate Hearings on Motions

to Suppress (#52) is hereby ALLOWED and the hearings of the motions to suppress evidence

filed by Defendant Raymond and Defendant Wilson will be consolidated for the purpose of the

hearing of the motions and the hearing of these motions shall begin at 9:00 o’clock a.m. on June

12, 2013.




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                                           Signed: May 29, 2013




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